                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

   UNITED STATES OF AMERICA                        )
                                                   )
                                                   )   Criminal Case 4:18-CR-00012
   V.                                              )
                                                   )
   DASHAWN ROMEER ANTHONY, et al                   )

                                  NOTICE OF WITHDRAWAL


         Michael J. Newman, Special Assistant United States Attorney, for the Western District of

  Virginia, hereby notes his withdrawal as counsel in this case for the United States of America.


                                               Respectfully submitted,

                                               THOMAS T. CULLEN
                                               United States Attorney


                                               /s/ Michael J. Newman
                                               Michael J. Newman (Va. Bar No. 40075)
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on the 2nd day of December 2019, the foregoing notice was filed with

  the Clerk of the Court using the CM/ECF System, which will send notice and constitute service

  of such filing, to counsel of record for the defendants.

                                                /s/ Michael J. Newman
                                                Michael J. Newman
                                                Special Assistant United States Attorney




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